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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

_______________________________________
                                       )
JEAN LABRANCHE and,                    )
MARIE LABRANCHE                        )
                                       )
                  Plaintiff,           )
                                       )
                  v.                   )                 Civil Action No. 24-12190-MJJ
                                       )
UNITED STATES LIBERTY INSURANCE )
COMPANY; KEVIN MICHAEL MURPHY; )
EVISTA FORENSICS, LLC; and             )
ANDREW WILLIAMS d/b/a GAI              )
ENGINEERING                            )
                                       )
                  Defendants.          )
_______________________________________)


                              MEMORANDUM OF DECISION

                                          May 29, 2025


JOUN, D.J.

       Plaintiffs Jean and Marie Labranche, (“Plaintiffs”) brings this action against Defendants

United States Liberty Insurance Company (“USLI”), Kevin Michael Murphy (“Murphy”),

Envista Forensics, LLC (“Envista”) and Andrew Williams d/b/a GAI Engineering (“Williams”)

(collectively, “Defendants”) concerning the investigation and subsequent denial of insurance

proceeds after a fire occurred in the basement of Plaintiffs’ condominium. Plaintiffs allege:

Violation of Mass. Gen. Laws ch. 93A (Count I), Interference with Contractual Relations (Count

II), and Negligence (Count III) against all Defendants. [Doc. No. 1 at 19-23].

       Defendants filed three separate motions. Defendant Williams moves to dismiss the

Amended Complaint for failure to state a claim upon which relief can be granted pursuant to

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Fed. R. Civ. P. 12(b)(6). Defendants Murphy and Envista, likewise seek dismissal pursuant to

Fed. R. Civ. P. 12(b)(6), along with dismissal on the theories of claim-splitting and litigation

privilege. Defendant USLI moves for summary judgment pursuant to Fed. R. Civ. P. 56. For the

reasons set forth below, Defendants’ Motions to Dismiss are GRANTED; Defendant USLI’s

Motion for Summary Judgment is GRANTED.

I.     BACKGROUND

       The following facts are taken from the Amended Complaint and its attachments, as well

as records from related state court proceedings. Foisie v. Worcester Polytechnic Inst., 967 F.3d

27 (1st Cir. 2020) (“[R]ecords from related state court proceedings fall within the public records

exception,” which allows a court from straying beyond the facts of a complaint.). I also take

judicial notice of the Plaintiffs’ multiple complaints filed in Suffolk Superior Court prior to

removal. See Guardado v. United States, 76 F.4th 17, 24 (1st Cir. 2023).

       On May 11, 2021, a fire occurred in the basement of 31 Nazing Street (the “Property”),

Dorchester, Massachusetts. [Doc. No. 1 at 15, ¶ 12]. The Property is a two-family condominium

dwelling in which Plaintiffs own and occupy the second floor unit. [Id. at ¶ 11]. The Boston Fire

Department responded to the fire and subsequently issued a report concluding that the cause of

the fire was “Unintentional,” and factors contributing to ignition was identified as "heat source

too close to combustibles." [Id. at ¶ 14; Doc. No. 6 at 138].

       United States Liability Insurance Company issued a commercial policy to “Thirty-One

Nazing Street Condo Trust,” for the period of July 24, 2020, through July 24, 2021. [Doc. No. 6

at 19]. The policy includes a provision that states it will pay for direct physical loss or damage to

covered property which includes “property contained within a unit, regardless of ownership”

such as “[f]ixtures, improvements, and alterations that are part of the building or structure . . .”


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[Doc. No. 1 at 14, ¶ 9]. On May 11, 2021, Plaintiff, through others, notified USLI of the damage

to their unit and USLI set up a claim under Claim No. K161128. [Id. at 15, ¶ 13].

       USLI conducted its own investigation to determine the cause and origin of the fire, in

which the Boston Police and State Fire Marshall’s Office participated. [Doc. No. 6 at 124].

Additionally, USLI retained Envista Forensics, LLC, and GAI Engineers to investigate the origin

and cause. [Id. at 138, 143]. Fire scene examinations took place on three different dates.

[Id. at 140]. Murphy investigated the scene on May 14, 2021, where he spoke with Plaintiff Jean

LaBranche and examined both the interior and exterior of the building and the units. [Id. at 140].

A second fire scene exam was conducted on May 27, 2021, by Murphy and EFI Global

Investigator Stephen Cunningham, where debris samples were collected and video footage from

a neighbor showed two people exit the basement and get into a white SUV on the morning of the

fire. [Id. at 142]. A third fire examination at the property was conducted on June 24, 2021. [Id.].

Those in attendance at this examination included: Murphy, Williams, Michael Peters from

Liberty Mutual Insurance, Stephen Cunningham from EFI Global, Jay Kramarczyk from EFI

Global, and Stephen King from Northeast Evidence. [Id. at 196–97].

       At the last inspection, fourteen items of evidence were collected and stored at secure

evidence facilities. [Id. at 240]. Counsel for Plaintiffs sent three letters to Murphy in the Summer

of 2021 requesting information regarding who gave him permission to enter the property to

conduct the three investigations. [Id. at 152–56]. The letters also requested information regarding

the items that were removed for further analysis. [Id.]. In a letter to Plaintiffs, Defendants

indicated an evidence log was provided to Plaintiffs, along with permission for Plaintiffs to

retake possession of the items under the condition that Plaintiffs arrange for them to be held at a

secure facility. [Id. at 240]. The letter also indicates that Plaintiffs were present along with


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counsel for the inspection and testing of the removed items that took place at GAI Engineers

facility. [Id. at 242]

           On June 20, 2022, Williams issued his report which opined “[a]n intentionally created

natural gas leak at the dwelling gas piping, by unthreading a pipe & cap from a reducing tee

fitting in the basement utility room, was determined to be a significant contributing factor to the

cause of the fire.” [Id. at 247]. On August 31, 2022, Murphy issued his report which concluded

“[t]he Cause Classification of the fire is Incendiary.” [Id. at 150]. On December 16, 2022, USLI

denied coverage as to Plaintiffs and reasoned that there was evidence of an incendiary fire in

which Plaintiffs had “motive and opportunity.” 1 [Id. at 132]. To support its denial, USLI cited to

a provision of the insurance policy that stated USLI will not pay for loss or damage resulting

from a “[d]ishonest or criminal act by you, any of your partners, members, officers, managers,

employees (including leased employees), directors, trustees, authorized representatives or anyone

to whom you entrust the property for any purpose . . . ” [Id. at 131]. However, USLI reached an

agreement with the first-floor owner relative to his individual condominium unit ownership

interest and also tendered to him the agreed upon amount of loss for his percentage ownership

interest in the common areas and facilities. [Id. at 123].




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    The denial letter also stated:

           On June 8, 2021, USLI reported a False Loss statement to the Insurance Fraud Bureau of
           Massachusetts (IFS Referral #: 85401). The IFB acknowledged its report by letter dated
           July 30, 2021, and wrote that ‘[a]fter careful consideration and evaluation of the
           information provided to the Insurance Fraud Bureau of Massachusetts (IFB), it has been
           determined that sufficient evidence of criminal conduct exists which warrants further
           investigation.’ A copy of this letter is attached at Exhibit A. Thereafter, the IFB opened
           Case #: 2021-07-081.

[Doc. No. 6 at 124].
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        On May 16, 2024, Plaintiffs issued a Demand Letter Pursuant to M.G.L. c. 93A to the

Defendants. [Id. at 157–161]. On June 28, 2024, all Defendants rejected Plaintiffs’ demand for

relief. [Id. at 238–248]. Plaintiffs promptly filed suit.

II.     PROCEDURAL HISTORY

        Plaintiffs filed their First Amended Complaint on July 17, 2024, in Suffolk Superior

Court alleging Violations of Mass. Gen. Laws ch. 93A (Count I), Interference with Contractual

Relations (Count II), and Negligence (Count III) against all defendants. [Doc. No. 1 at 11–26].

On August 23, 2024, USLI filed a Notice of Removal. [Doc. No. 1]. On September 30, 2024,

Williams filed a Motion to Dismiss. [Doc. No. 7], to which on October 9, 2024, Plaintiffs filed

an opposition. [Doc. 9]. On November 14, 2024, Murphy and Envista filed a Motion to Dismiss.

[Doc No. 17]. Plaintiffs did not file an opposition. On February 28, 2025, USLI filed a Motion

for Summary Judgment, which also is unopposed. [Doc. No. 20].

III.    DEFENDANTS’ MOTIONS TO DISMISS

            A. Legal Standard 12(b)(6) Motion to Dismiss

        In evaluating a motion to dismiss for failure to state a claim, a court must determine

whether a complaint contains enough factual allegations to “state a claim to relief that is

plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). In conducting this review, courts “ignore[] statements in the complaint that

simply offer legal labels and conclusions or merely rehash cause-of-action elements, then take[]

the complaint’s well-pled (i.e., non-conclusory, non-speculative) facts as true, drawing all




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reasonable inferences in the pleader’s favor, and sees if they plausibly narrate a claim for relief.”

Sonoiki v. Harvard Univ., 37 F.4th 691, 703 (1st Cir. 2022) (cleaned up).

        Local Rule 7.1(B)(2) requires a party to file an opposition within 14 days after service of

the motion. When a party fails to meet this deadline, “a court may consider the motion

unopposed, or the opposition waived and allow the motion.” Latimore v. Trotman, No. CV 14-

13378-MBB, 2021 WL 5763009, at *1 (D. Mass. Dec. 3, 2021) (citing NEPSK, Inc. v. Town of

Houlton, 283 F.3d 1, 7-8 (1st Cir. 2002)). “The decision of whether to allow an unopposed

motion, however, is within a court's discretion.” Latimore, 2021 WL 5763009, at *2 (citing

Ramsdell v. Bowles, 64 F.3d 5, 7 (1st Cir. 1995)). 2

            B. Analysis

                       1. M.G.L c. 93A Claim

        Defendant Williams argues Plaintiffs not only failed to allege false and deceptive conduct

by Williams or GAI, but also failed to identify with particularity any alleged false and deceptive

conduct as required by Fed. R. Civ. P. 9(b). [Doc. No. 8 at 3–4]. Plaintiffs argue the Amended

Complaint adequately plead such torts as “trespass” and “conversion.” [Doc. No. 9 at 6].

Defendant Envista raises substantially the same argument as Williams. [Doc No. 17-1 at 12].

        Massachusetts General Law ch. 93A, § 2 makes “unfair or deceptive acts or practices in

the conduct of any trade or commerce” unlawful. “To state a claim under the consumer

protection statute, G. L. c. 93A, § 9, a plaintiff must allege facts sufficient to establish four

elements: first, that the defendant has committed an unfair or deceptive act or practice; second,



2
  As noted, Plaintiffs failed to file an opposition to Defendants Envista and Murphy’s Motion to Dismiss.
Exercising this courts discretion, and in light of the strong preference for resolving matters on the merits,
I decline to allow Defendants Envista and Murphy’s Motions based solely on Plaintiffs’ failure to file an
opposition.


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that the unfair or deceptive act or practice occurred ‘in the conduct of any trade or commerce;’ 3

third, that the plaintiff suffered an injury; and fourth, that the defendant's unfair or deceptive

conduct was a cause of the injury.” Rafferty v. Merck & Co., 479 Mass. 141, 161 (2018). In

determining whether a practice violates Chapter 93A, courts look to “(1) whether the practice ...

is within at least the penumbra of some common-law, statutory, or other established concept of

unfairness; (2) whether it is immoral, unethical, oppressive, or unscrupulous; [and] (3) whether it

causes substantial injury to consumers.” Massachusetts Eye & Ear Infirmary v. QLT

Phototherapeutics, Inc., 412 F.3d 215, 243 (1st Cir. 2005) (citing PMP Assocs., Inc. v. Globe

Newspaper Co., 366 Mass. 593, 596 (1975)).

          “Trade or commerce refers to transactions in a business context, which in turn, is

determined by the facts of each case . . . .” Baker v. Wilmer Cutler Pickering Hale & Dorr LLP,

91 Mass. App. Ct. 835, 849 (2017) (cleaned up). Factors the court considers when making this

determination are “(1) the nature of the transaction, (2) the character of the parties and their

activities, and (3) whether the transaction was motivated by business or personal reasons.” Id. at

849–850. “Nonetheless, some business, commercial, or transactional relationship is required

even for a claim brought under section 9.” Steinmetz v. Coyle & Caron, Inc., 862 F.3d 128, 141

(1st Cir. 2017).




3
    M.G.L. c. 93A § 1(b) defines “trade” and “commerce” as including:

          “advertising, the offering for sale, rent or lease, the sale, rent, lease or distribution of any
          services and any property, tangible or intangible, real, personal or mixed, any security as
          defined in subparagraph (k) of section four hundred and one of chapter one hundred and
          ten A and any contract of sale of a commodity for future delivery, and any other article,
          commodity, or thing of value wherever situate, and shall include any trade or commerce
          directly or indirectly affecting the people of this commonwealth.”

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       The Amended Complaint provides scant factual support for the first element. However, I

need not scrutinize the first element as the Amended Complaint is devoid of allegations

pertaining to the second element. Plaintiffs neither allege that the deceptive act or practice

occurred in the conduct of trade or commerce, nor do they identify any “business, commercial, or

transactional relationship.” Steinmetz, 862 F.3d at 141. Plaintiffs simply allege that the

Defendants “were engaged in trade or commerce” which “merely rehash[es] the cause-of-action

elements.” Sonoiki., 37 F.4th 691, 703 (1st Cir. 2022) (cleaned up). The Amended Complaint

merely “tenders naked assertions devoid of further factual enhancement. Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). Additionally, as Count I is not asserted against Kevin Murphy, Plaintiffs

fail to adequately plead any form of vicarious liability necessary to hold Envista liable for

Murphy’s Conduct. See Norris v. Glob. Tel Link Corp., No. CV 16-11323-LTS, 2016 WL

4574639, at *2 (D. Mass. Sept. 1, 2016) (“Without allegations supporting an agency relationship,

the underpinning of a claim of vicarious liability . . . fails.”). Further analysis is unwarranted.

Count I is dismissed as to all Defendants for failure to state a claim.

                     2. Intentional Interference with Contractual Relations Claim

       Defendant Williams argues the Intentional Interference with Contractual Relations

(“IICR”) claim fails because he was an “agent” for USLI, and therefore cannot be liable for

interference with what is essentially his “own” contract. [Doc No. 8 at 5]. He further argues

Plaintiffs fail to establish his conduct was improper in motive and means. [Id. at 6]. Plaintiffs fail

to address this argument in their opposition. Defendants Envista and Murphy echo Williams’

contention that Plaintiff failed to allege conduct that was improper in motive and means. [Doc

17-1 at 11].




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       “To state a claim for IICR under Massachusetts law, a plaintiff must show that (1) she

had an advantageous relationship with a third party; (2) the defendant knowingly induced the

third party to break the relationship; (3) the defendant's interference, in addition to being

intentional, was improper in motive or means; and (4) the plaintiff was harmed as a result.”

Cloutier v. City of Lowell, No. 15-cv-12780, 2017 WL 11488633, at *31 (D. Mass. July 12,

2017); see also Rando v. Leonard, 826 F.3d 553, 556 (1st Cir. 2016).

       Under Massachusetts law, proof of an agency relationship is usually a question of fact for

the jury. White's Farm Dairy, Inc. v. De Laval Separator Co., 433 F.2d 63, 66 (1st Cir. 1970). “It

is to be determined from all the evidence and reasonable inferences to be drawn therefrom.” Id.

If a Plaintiff pleads sufficient facts to support an agency relationship exists, a Court can

recognize the relationship as true at the motion to dismiss stage. See iNebular, Inc. v. Deutsche

Bank Tr. Co. Americas, 651 F. Supp. 3d 413, 419 (D. Mass. 2023). Here, Plaintiffs have not pled

specific allegations to support a finding that Williams was an agent for USLI. The only reference

in the Amended Complaint to support that such a relationship exists states “[t]he Defendant

insurer and its representatives . . . .” [Doc. No. 1 at 16, ¶ 18]. Accordingly, the Amended

Complaint does not meet the threshold for establishing an agency relationship.

       Irrespective of the agency relationship, I agree with Defendants’ contention that Plaintiffs

have failed to establish that their conduct was improper in motive and means. The improper

motive element of IICR requires actual malice such as “a spiteful, malignant purpose, unrelated

to the legitimate corporate interest.” Wright v. Shriners Hospital for Crippled Children, 412

Mass. 469, 476 (1992) (quoting Sereni v. Star Sportswear Mfg. Corp., 24 Mass.App.Ct. 428, 433

(1987)). “Neither personal or financial gain, nor personal dislike, is enough to satisfy the

improper motive requirement.” King v. Driscoll, 418 Mass. 576, 587 (1994).


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       Here, while the Amended Complaint offers only marginal support for the first two

elements of IICR, it fails entirely to plead the third element. The Amended Complaint alleges

Murphy and Williams “knew or should have known that their actions, reports would be used to

deny/ affect payment to the plaintiffs.” [Doc. No. 1 at 22, ¶ 55]. The Amended Complaint further

alleges that Murphy and Williams’ conduct was “intentional, deliberate, and reckless” and that

the “defendant’s [sic] conduct substantially interfered with plaintiff’s [sic] rights to recover

under the subject policy provisions.” [Doc. No. 1 at 22-23, ¶¶ 58-59]. The Amended Complaint

fails as this Count contains mere conclusions of law and is void of any factual allegations

suggesting any improper motive or means on the part of the Defendants. Absent such factual

allegations, dismissal of Count II is warranted. See Comeau v. Town of Webster, Mass., 881 F.

Supp. 2d 177, 192 (D. Mass. 2012).

                     3. Negligence Claim

       Williams argues Count III of the Complaint must be dismissed because Plaintiffs fail to

establish the existence of a legal duty. [Doc. No. 8 at 7]. Williams further emphasizes that

Plaintiffs fail to properly allege a single element of negligence. [Id.] Plaintiffs do not directly

respond to this argument in their opposition. Defendants Envista and Murphy invoke the

economic loss doctrine as a basis for dismissal. [Doc. No. 17-1 at 9].

       “To succeed on a claim for negligence under Massachusetts law, a plaintiff must show

that (1) the defendant owed a legal duty to the plaintiff, (2) the defendant breached that duty, (3)

the breach was the proximate cause of the plaintiff's injury and (4) the plaintiff suffered actual

damage or injury.” Hale v. Pan Am Railways, Inc., 305 F. Supp. 3d 252, 256 (D. Mass. 2018).

“Whether a duty of care exists is a question of law . . . and an appropriate subject of a motion to

dismiss pursuant to rule 12(b)(6).” Leavitt v. Brockton Hosp., Inc., 454 Mass. 37, 40 (2009).


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“Absent a duty of care, ‘there can be no actionable negligence.’” Hale v. Pan Am Railways, Inc.,

305 F. Supp. 3d 252, 256 (D. Mass. 2018) (quoting Dhimos v. Cormier, 400 Mass. 504, 507

(1987).

          I agree with Williams that Plaintiffs allegations fail to establish the existence of a legal

duty of care. The Amended Complaint is void of any facts that would allow the Court to

determine if Williams owed a duty to Plaintiffs. The Complaint alleges Kevin Murphy admitted

during deposition testimony that “he had an obligation to conduct an objective and fair

investigation that was free of any bias or prejudice.” [Doc. No. 1 at 16, ¶ 17]. Notwithstanding

this assertion, Plaintiffs are silent as to Williams. Plaintiffs fail to provide basic facts as to

Williams’ role in the investigation and the nature of the relationship between Williams and

Plaintiffs. Moreover, Plaintiffs fail to plausibly allege Williams owed them a duty, much less

how any duty of reasonable care was breached. See Hale, 305 F. Supp. 3d at 256. Accordingly,

because Plaintiffs fail to articulate a plausible entitlement to relief, Count III is dismissed as to

Defendant Murphy.

          I further agree with Defendants Envista and Murphy that the economic loss doctrine bars

recovery as to Plaintiffs’ negligence claim. In Massachusetts, it is settled law that “purely

economic losses are unrecoverable in tort . . . in the absence of personal injury or property

damage.” FMR Corp. v. Boston Edison Co., 415 Mass. 393, 395 (1993). Here, Plaintiffs’

Amended Complaint fails to allege personal injury or property damage. Plaintiffs merely allege

that the Defendants “removed evidence, contents, and building property without advance notice

and/ or permission from the plaintiffs.” [Doc 1 at 17, ¶ 23]. The Amended Complaint fails to

identify what property was removed or damaged during the process. Even when accepting the

facts as true and viewing those facts in the light most favorable to the Plaintiffs, the allegation


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more appropriately resembles a claim for conversion rather than a claim for property damage due

to negligence.

       Defendants Envista and Murphy go on to argue that the exception to the economic loss

doctrine does not apply because Plaintiffs failed to allege negligent misrepresentation. [Doc. No.

17-1 at 14]. “Massachusetts law recognizes an exception to the economic loss doctrine for

economic losses resulting from negligent misrepresentations.” Superior Kitchen Designs, Inc. v.

Valspar Indus. (U.S.A.), Inc., 263 F. Supp. 2d 140, 147 (D. Mass. 2003) (citing Nota Constr.

Corp. v. Keyes Assoc., 45 Mass.App.Ct. 15 (1998)). “In order to recover for negligent

misrepresentation a plaintiff must prove that the defendant (1) in the course of his business, (2)

supplies false information for the guidance of others (3) in their business transactions, (4)

causing and resulting in pecuniary loss to those others (5) by their justifiable reliance upon the

information, and (6) with failure to exercise reasonable care or competence in obtaining or

communicating the information.” Nota Const. Corp.,45 Mass. App. Ct. at 19–20.

       While the Amended Complaint states, “Kevin Murphy made false, deceptive, and/or

misleading statements in his report,” it fails to advance any additional facts sufficient to state a

claim for negligent misrepresentation. “A complaint must give the defendant fair notice of what

the plaintiff's claim is and the grounds upon which such claim rests.” Superior Kitchen Designs,

Inc., 263 F. Supp. 2d at 148; see also Fed. R. Civ. P. 8. If Plaintiffs believed they had a viable

claim for negligent misrepresentation, they should have alleged it as a separate Count and

provided adequate factual support. “The court will not read causes of action into the complaint

which are not alleged.” Superior Kitchen Designs, Inc., 263 F. Supp. 2d at 148. Therefore, Count

III is also dismissed as to Defendants Envista and Murphy.




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IV.     USLI’S MOTION FOR SUMMARY JUDGMENT

            A. Facts and Procedural History

        Turning now to USLI’s Motion for Summary Judgment, to aid the analysis, I briefly

summarize further relevant facts taken from USLI’s Statement of Undisputed Facts. 4 The first

lawsuit (“Lawsuit 1”) regarding this incident was filed by Plaintiffs in Suffolk Superior Court on

December 29, 2021, No. 2184-cv-02939, naming only “Liberty Mutual Insurance Company

d/b/a American States Insurance Company” as a Defendant. [Dkt. No. 2184-cv-02939, Suffolk

Superior Court]. The parties stipulated to a dismissal for reasons unknown to this Court on

August 1, 2023. [Id.].

        On May 8, 2023, Plaintiffs filed their second lawsuit (“Lawsuit 2”) regarding this

incident in Suffolk Superior Court. [Doc. No. 22 ¶ 18]. Lawsuit 2 named “United States Liability

Insurance Company and 31 Nazing Street Condominium Trust Necessary and Indispensable

Party” as Defendants. [Id.]. Plaintiffs Amended their Complaint in Lawsuit 2 on June 1, 2023.

[Id. at ¶ 20]. The Plaintiffs asserted claims of Breach of Contract (Count I), Unjust Enrichment

(Count II), Defamation Per Se (Count III), Defamation (Count IV), and Negligence (Count V).

[Id. at ¶ 20]. Lawsuit 2 was removed to this Court on July 7, 2023, and docketed as 23-cv-

11456. 5 [Id. at ¶ 22].

        On September 8, 2023, I issued an amended scheduling order in Lawsuit 2, setting the

deadline for Amendments to Pleadings for September 22, 2023. [Id. at ¶ 24]. Notably, prior to


4
  The Court also takes judicial notice where appropriate from proceedings in Suffolk Superior Court. See
Kowalski v. Gagne, 914 F.2d 299, 305 (1st Cir. 1990) (“It is well-accepted that federal courts may take
judicial notice of proceedings in other courts if those proceedings have relevance to the matters at hand.”).
5
 Lawsuit 2 was subsequently consolidated with case 1:23-vc-11192, captioned Richard Morris MD,
Trustee of 31 Nazing Street Condominium Trust v. United States Liability Insurance Company. [Doc. No.
22 ¶ 23].

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the issuing of the Amended Scheduling Order, Plaintiffs had already deposed Caesar Camacho 6

and received both Murphy and Williams’ investigative reports along with a copy of the evidence

log of the items removed from the property for analysis. [Doc. No. 17-3 at 522; Doc. No. 17-2 at

195–331]. Plaintiffs chose not to amend. [Doc. No. 22 at 6].

        On July 18, 2024, Plaintiffs filed a third lawsuit (“Lawsuit 3”) in Suffolk Superior Court,

No. 0284-cv-01884, naming United States Liability Company, Kevin Michael Murphy, Envista

Forensics, LLC, and Andrew Williams d/b/a GAI Engineering as Defendants. [Doc. No. 1 at 13].

The Complaint alleges violations of M.G.L. ch. 93A (Count I), Interference with Contractual

Relations (Count II), and Negligence (Count III.). [Id.] On August 23, 2024, Lawsuit 3 was

removed to this Court and docketed as 24-cv-12190, which is currently before me on this

motion.

            B. Legal Standard Rule 56

        Summary judgment is appropriate when, based upon the pleadings, affidavits, and

depositions, “there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A fact is “material” if it “might affect the

outcome of the suit under the governing law.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248 (1986). A dispute is “genuine” if “the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.” Id.

        Generally, “a party seeking summary judgment always bears the initial responsibility of

informing the district court of the basis for its motion.” Celotex Corp. v. Catrett, 477 U.S. 317,

323, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). “To succeed, the moving party must show that there



6
  Caesar Camacho is the owner of the property in which investigators retrieved footage from his security
cameras that allegedly depict two individuals leaving the property where the fire occurred just prior to the
incident.
                                                    14
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is an absence of evidence to support the nonmoving party's position.” Rogers v. Fair, 902 F.2d

140, 143 (1st Cir. 1990). Once it has made the requisite showing, the burden shifts to the

nonmovant to “present definite, competent evidence to rebut the motion” and demonstrate that a

“trialworthy issue persists.” Vineberg v. Bissonnette, 548 F.3d 50, 56 (1st Cir. 2008) (internal

citations and quotations omitted). “‘[T]he mere existence of a scintilla of evidence’ is insufficient

to defeat a properly supported motion for summary judgment.” Torres v. E.I. Dupont De

Nemours & Co., 219 F.3d 13, 18 (1st Cir. 2000) (quoting Anderson, 477 U.S. at 252, 106 S.Ct.

2505).

         If a Plaintiff fails to file a timely opposition to a motion for summary judgment, the Court

treats the Defendant’s motion as unopposed and “deems admitted the facts set forth in

Defendant’s Statement of Undisputed Material Facts. 7 See Ferreira v. Mortg. Elec. Registration

Sys., Inc., 794 F. Supp. 2d 297, 301 (D. Mass. 2011). While the motion is unopposed, the Court

must still consider whether the moving party is entitled to summary judgment on the merits.

Cordi–Allen v. Halloran, 470 F.3d 25, 28 (1st Cir.2006). “In most cases, however, ‘a party's

failure to oppose summary judgment is fatal to its case.’” Ferreira, 794 F. Supp. 2d at 301

(quoting Perez–Cordero v. Wal–Mart P.R., 440 F.3d 531, 533–34 (1st Cir.2006).

            C. Analysis

                      1. Doctrine of Claim Splitting

         USLI argues it is entitled to summary judgment pursuant to the claims splitting doctrine.

Specifically, USLI argues that Plaintiffs filed a prior lawsuit comprised of the same nucleus of




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 Local Rule 56.1 provides that: “Material facts of record set forth in the statement required to be served
by the moving party will be deemed for purposes of the motion to be admitted by opposing parties unless
controverted by the statement required to be served by opposing parties.”
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facts that is currently pending before this court contemporaneously with this matter. Plaintiffs did

not file an opposition to USLI’s motion.

        Early First Circuit case law describes the claim-splitting doctrine as “one application of

the general doctrine of res judicata.” Sutcliffe Storage & Warehouse Co. v. United States, 162

F.2d 849, 852 (1st Cir. 1947). More recently, courts have viewed the doctrine as one of “docket

management.” See Conservation L. Found., Inc. v. Longwood Venues & Destinations, Inc., 415

F. Supp. 3d 240, 242 (D. Mass. 2019) (citing 18 Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 4406 (3d ed. 1998). The Tenth Circuit has provided an

articulation of “the test for claim splitting is not whether there is finality of judgment, but

whether the first suit, assuming it were final, would preclude the second suit.” Katz v. Gerardi,

655 F.3d 1212, 1218 (10th Cir. 2011).

        “[A]s a general proposition, parties are not permitted to engage in claim-splitting: that is,

parties are generally not permitted to bring new actions based on claims that could have been

asserted in the earlier action but were not.” Salvati v. Fireman's Fund Ins. Co., 368 F. Supp. 3d

85, 91 (D. Mass. 2019). The doctrine essentially prevents a party from bringing a subsequent

lawsuit where it “had every opportunity to fully litigate its various claims against the full range

of defendants in an earlier suit and made the strategic choice not to do so.” Airframe Sys., Inc. v.

Raytheon Co., 601 F.3d 9, 14 (1st Cir. 2010). One notable exception to the rule against claim

splitting is where “the evidence on which the second action is based was not reasonably

discoverable during the pendency of the first action.” Salvi, 368 F. Supp. 3d at 92 (citing

Havercombe v. Dep't of Educ. of the Commonwealth of P.R., 250 F.3d 1, 8 n.9 (1st Cir. 2001).

        Applying the foregoing principles, I now must determine if “the causes of action asserted

in the earlier and later suits are sufficiently identical or related,” and whether “the parties in the


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two suits are sufficiently identical or closely related.” 8 Salvi, 368 F. Supp. 3d at 9. The First

Circuit has adopted a transactional approach to determine whether causes of action are

sufficiently related.” Massachusetts Sch. of L. at Andover, Inc. v. Am. Bar Ass'n, 142 F.3d 26, 38

(1st Cir. 1998). “This boils down to whether the causes of action arise out of a common nucleus

of operative facts.” Id. The inquiry is “whether the facts are related in time, space, origin, or

motivation.” Id.

        Here, the claims in Lawsuit 2 and Lawsuit 3 undisputedly arise out of a common nucleus

of operative facts. Both lawsuits stem from a fire that occurred on May 11, 2021, in the basement

of the property located at 31 Nazing Street in Dorchester Massachusetts. Similarly, both lawsuits

are motivated by USLI’s denial of insurance coverage. Lawsuit two simply changes the causes of

action and adds new parties as Defendants. Although Plaintiffs “dress [their claims] in different

legal raiment, the conduct that underbraces the two sets of claims is strikingly similar in time,

space, origin, and motivation.” Id.

        Further, the exception to claim splitting regarding evidence that was not reasonably

available in the Lawsuit 2 does not apply. Plaintiffs received a letter from USLI’s counsel on

December 16, 2022, informing them of the denial of coverage and attaching both William’s and

Murphy’s reports. Plaintiffs then deposed Caesar Camacho on March 13, 2023, which is

approximately two months prior to filing Lawsuit 2 and over a year before filing Lawsuit 3. In


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  The First Circuit has interpreted the Supreme Court’s ruling in Semtek Intern. Inc. v. Lockheed Martin
Corp., 531 U.S. 497, 508-09 (2001), to signify the use of state law when a Federal Court is confronted
with a claim preclusion issue regarding “successive diversity actions.” See Hatch v. Trail King Industries,
Inc., 699 F.3d 38 (1st Cir. 2012). Contrastingly, the SJC has announced “[w]hen a State court is faced
with the issue of determining the preclusive effect of a Federal court's judgment, it is the Federal law of
res judicata which must be examined.” Anderson v. Phoenix Investment Counsel of Boston, Inc., 387
Mass. 444, 449, 440 N.E.2d 1164 (1982). As Anderson predates Semtek, the SJC has not clarified whether
the rule survives. Hatch, 699 F.3d at 44-45. Because Massachusetts and federal common law apply the
same factors to decide questions of claim preclusion, the Court will apply federal law of claim preclusion
just as other sessions in this Court have previously done. See Salvi, 368 F. Supp. 3d at 90.
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the same vein, Plaintiffs chose not to seek leave to Amend Lawsuit 2 after the September 8,

2023, scheduling order issued, and instead just filed another lawsuit. The doctrine was

established precisely to preclude this type of conduct. Airframe Sys., Inc., 601 F.3d at 14.

       The second part of the analysis regarding the identity of the parties requires minimal

examination. Plaintiffs clearly name “United States Liability Insurance Company” as a

Defendant in both suits. No additional examination is necessary. Plaintiffs made a number of

strategic choices and the doctrine of claim splitting, along with the principles of claim

preclusion, requires them to live with those choices.

V.     CONCLUSION

       For the foregoing reasons, Defendants Williams, Murphy, and Envista’s Motion to

Dismiss is GRANTED. Defendant USLI’s Motion for Summary Judgment is GRANTED.



SO ORDERED.

                                                              /s/ Myong J. Joun______
                                                              United States District Judge




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